                           Case 22-3068, Document 90, 08/29/2023, 3562455, Page1 of 62
                                   UNITED STATES COURT OF APPEALS FOR THE SECOND CIRCUIT

                  Thurgood Marshall U.S. Courthouse 40 Foley Square, New York, NY 10007 Telephone: 212-857-8500

                                                    MOTION INFORMATION STATEMENT
                  22-3068
Docket Number(s): ________________________________________              _______________Caption [use short title]_____________________
            EMERGENCY STAY on expedited motion schedule
Motion for: ______________________________________________

________________________________________________________

________________________________________________________

Set forth below precise, complete statement of relief sought:
EMERGENCY STAY on expedited motion schedule:
________________________________________________________
                                                                         GAZZOLA, et al. v. HOCHUL, et al.
1. STAY of NYSP take-over of FFL direct interface to FBI-NICS
________________________________________________________
for firearms background checks a/o 09/13/2023;
________________________________________________________
2. STAY of NYSP launch of new ammunition background
________________________________________________________
check system; and,
________________________________________________________
3. STAY of NYSP "Terrorism" unit investigation of FFLs
________________________________________________________
              Plaintiff-Appellants
MOVING PARTY:_______________________________________                Defendant-Appellees
                                                     OPPOSING PARTY:____________________________________________


          □✔
          ___Plaintiff
                                  □
                                  ___Defendant


          □
          ✔
          ___Appellant/Petitioner
                                  □
                                  ___Appellee/Respondent

                         Paloma A. Capanna                                           Beezly Kiernan/NYS-AG
MOVING ATTORNEY:___________________________________ OPPOSING ATTORNEY:________________________________________
                        [name of attorney, with firm, address, phone number and e-mail]
106-Professional Park Drive, Beaufort, NC 28516
________________________________________________________ Office of NY Attorney General
                                                         _______________________________________________________________
(315) 586-2929
________________________________________________________ The Capitol, Albany, NY 12224
                                                         _______________________________________________________________
pcapanna@yahoo.com
________________________________________________________ (518) 776-2023; beezly.kiernan@ag.ny.gov
                                                         _______________________________________________________________
                                    NDNY, Hon. Brenda K. Sannes
Court- Judge/ Agency appealed from: _________________________________________________________________________________________

Please check appropriate boxes:                                       FOR EMERGENCY MOTIONS, MOTIONS FOR STAYS AND
                                                                      INJUCTIONS PENDING APPEAL:


          □ □
Has movant notified opposing counsel (required by Local Rule 27.1):                                                                               ✔
         ✔
        ___Yes     ___No (explain):__________________________
        _______________________________________________
                                                                       Has this request for relief been made below?
                                                                       Has this relief been previously sought in this court?
                                                                       Requested return date and explanation of emergency: ________________
                                                                       request before Judges Lee, Jacobs, and Lynch, fully briefed and submitted
                                                                                                                                                B8
                                                                                                                                                 ___Yes
                                                                                                                                                  ✔
                                                                                                                                                 ___Yes
                                                                                                                                                             ___No
                                                                                                                                                             ___No
                                                                                                                                                  PENDING related
                                                                       _____________________________________________________________
Opposing counsel’s position on motion:
                                                                       _____________________________________________________________
                                                                       March 20, 2023. Defendants Hochul and Nigrelli abruptly launched offensive against Plaintiff(s)/FFLs,

          □                □            □
                                        ✔
         ___Unopposed ___Opposed ___Don’t
Does opposing counsel intend to file a response:
                                                 Know                  which could result in immediate arrest(s). Said defendants also senr written
                                                                       _____________________________________________________________
                                                                       notice of intent to up-end FBI-NICS f/a background check system a/o 09/13/2023.
                                                                       _____________________________________________________________
          □          □       ✔
         ___Yes ___No ___Don’t
                               □        Know


Is oral argument on motion requested?
                                               □       □
                                               ___Yes ___No (requests for oral argument will not necessarily be granted)
                                                                                Oral arguments occurred March 20, 2023.
Has argument date of appeal been set?
                                               □ □
                                               ___ Yes ___No If yes, enter date:_______________________________________________________

Signature of Moving Attorney:
Paloma A. Capanna                      August 29, 2023 Service by: ___CM/ECF
_________________________________ Date:__________________           ✔
                                                                                  □                   □
                                                                             ___Other [Attach proof of service]




Form T
F    T-1080
       1080 ((rev.12-13)
                  12 13)
     Case 22-3068, Document 90, 08/29/2023, 3562455, Page2 of 62




   22-3068-cv
        United States Court of Appeals
                                      for the

                          Second Circuit
  NADINE GAZZOLA, individually, and as coowner, President, and as BATFE
Federal Firearms Licensee Responsible Person for Zero Tolerance Manufacturing,
  Inc., SETH GAZZOLA, individually, and as coowner, Vice President, and as
 BATFE FFL Responsible Person for Zero Tolerance Manufacturing, Inc., JOHN
    A. HANUSIK, individually, and as owner and as BATFE FFL Responsible
 Person for d/b/a AGA Sales, JIM INGERICK, individually, and as owner and as
 BATFE FFL Resonsible Person for Ingerick’s LLC, d/b/a Avon Gun & Hunting
    Supply, CHRISTOPHER MARTELLO, individually, and as owner and as
   BATFE FFL Responsible Person for Performance Paintball, Inc. d/b/a Ikkin
    Arms, MICHAEL MASTROGIOVANNI, individually, and as owner as as
 BATFE FFL Responsible Person for Spur Shooters Supply, ROBERT OWENS,
individually, and as owner and as BATFE FFL Responsible Person for Thousand
 Islands Armory, CRAIG SERAFINI, individually, and as owner and as BATFE
 FFL Responsible Person for Upstate Guns and Ammo, LLC, NICK AFFRONTI,
individually, and as BATFE FFL Responsible Person for East Side Traders LLC,
        EMPIRE STATE ARMS COLLECTORS ASSOCIATION, INC.,
                                                             Plaintiffs-Appellants,
                                     – v. –
KATHLEEN HOCHUL, in her Official Capacity as Governor of the State of New
       York, STEVEN A. NIGRELLI, in his Official Capacity as the Acting
   Superintendent of the New York State Police, ROSSANA ROSADO, in her
  Official Capacity as the Commissioner of the Department of Criminal Justice
     Services of the New York State Police, LETICIA JAMES, in her Official
           Capacity as the Attorney General of the State of New York,
                                                            Defendants-Appellees.
                      ––––––––––––––––––––––––––––––
          ON APPEAL FROM THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF NEW YORK

                           EMERGENCY MOTION

                                            PALOMA A. CAPANNA
                                            Attorney for Plaintiffs-Appellants
                                            106-B Professional Park Drive
                                            Beaufort, North Carolina 25816
                                            (315) 584-2929
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page3 of 62




                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF NEW YORK

_______________________________________________

Nadine Gazzola, individually, and as co-owner,
President, and as BATFE Federal Firearms Licensee
Responsible Person for Zero Tolerance
Manufacturing, Inc.; et al.

       Plaintiffs-Appellants
  v.

KATHLEEN HOCHUL, in her Official Capacity as
Governor of the State of New York; et al.

       Defendants-Appellees.
______________________________________________



                    DECLARATION OF PALOMA A. CAPANNA,
                  ATTORNEY FOR THE PLAINTIFFS-APPELLANTS

            The Emergency Nature of the Motion. A Request for a Stay Prior to
           Wednesday, September 13, 2023. A Description of the Risk, Otherwise.

1. Defendants NYS Gov. Hochul and NYSP Acting Superintendent Nigrelli abruptly announced

   their intention to take over ----
                                100% of the firearms background checks in New York and to

   concurrently launch a new ammunition background check system. Their announcement

   came in an undated notice postmarked August 17, 2023. The declared date for the launch is

   Wednesday, September 13, 2023, necessitating this motion for an emergency stay. The

   Hochul-Nigrelli offensive exceeds even the limits of the 2022 statutory authority they

   jammed through the legislature, which laws are challenged via this case and which laws are

   already pending an appeal for a preliminary injunction since oral arguments on March 20,

   2023.




                                Attorney Declaration – Page 1
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page4 of 62




2. In addition, the defendants quietly, and without warning, dispatched various NYS Police

   “Terrorism” unit investigators against federally-licensed dealers in firearms, including

   Albany-area plaintiff Craig Serafini. It was a coordinated operation of compliance

   inspections in a manner designed to elicit incriminating responses from dealers, including

   Mr. Serafini (plaintiff), Mr. Sehlmeyer (herein, supporting witness), and others. The

   “Terrorism” unit operation gathered information sufficient to start arresting dealers, including

   at least one of the plaintiffs (Mr. Serafini), along with other dealers similarly situated (such as

   Mr. Sehlmeyer). This flexing of power under the 2022 laws by Hochul and Nigrelli is

   precisely why there is a pending challenge on appeal for a preliminary injunction to stay

   these laws while plaintiffs proceed with decorum to a decision on the merits.

3. Most extraordinary, I must alert the Second Circuit that the offensive launched by Hochul

   and Nigrelli, because it exceeds the authority conferred through the challenged statutes, must

   also be used to supplement the submitted request to ensure any relevant stay granted

   plaintiffs through preliminary injunction also includes this illegal behavior.

4. These three items – (1.) background check system, (2.) ammunition background check, and

   (3.) dealer inspections – is now, as an urgent matter, put before the court through this

   emergency motion, requesting rulings prior to Wednesday, September 13, 2023.

5. There is significant risk that, in the absence of an emergency stay pending issuance of the

   preliminary injunction ruling by the Panel, one or more dealers in firearms, including

   plaintiff Craig Serafini, will be arrested on misdemeanor A criminal charges and that

   defendants will launch a monster background check system against -all firearms and

   ammunition transactions of NY state citizens seeking to exercise their fundamental rights

   under the Second Amendment to the U.S. Constitution. The statistical probability is that this



                                  Attorney Declaration – Page 2
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page5 of 62




   grotesque and uncertified system will either fail to work, be abused to shut down all

   transactions under the guise of 30-day “delays,” and/or conglomerate private transactional

   and personal information of state citizens into the first gun owners’ registry in the history of

   this country.

6. We urge Your Honor(s) to laser focus on the illegal and unconstitutional breadth of the three

   topics of this emergency motion, the admissible written documentation and party and witness

   affidavits in support, and the surprisingly simply statutory arguments in favor of relief.

   Everyone, myself included, is prepared to get into the courtroom for oral arguments or live

   testimony, if requested by Your Honor(s). There is likely no more pressing civil case before

   this court this week, in what should otherwise be a time-honored bar tradition of stealing

   away in these last wistfully-lazy summer days, even as we tell the kiddos it’s time to start

   going earlier to sleep to start getting ready for school. The timing of the defendants is

   intentional. They thought no one would be looking and that no judges would be around.

   I ask this court to prove me right when I say that when civil rights are in jeopardy the judges

   of the Thurgood Marshall Courthouse take no vacation.

7. What of these arguments is already pending I do not repeat herein. Understand me when

   I say that the offensive launched by Hochul and Nigrelli exceeds what 2022 statutory

   authority they granted themselves to, at best, start only a limited background check of

   handgun sales only by NYS-licensed dealers only – not a 100% take-over from FBI-NICS of

   all firearms background checks and not a dislocation of all NY-based, federally-licensed

   dealers in firearms from the FBI-NICS system and the ATF. These actions are illegal, even

   under the 2022 state laws and are challenged.




                                  Attorney Declaration – Page 3
               Case 22-3068, Document 90, 08/29/2023, 3562455, Page6 of 62




8. The FBI is relying, incorrectly, upon the Hochul-Nigrelli letter. The FBI sent e-mails on

      August 23, 2023 and August 25, 2023 to FFLs in New York, such as plaintiff Nadine

      Gazzola, stating the FBI will disconnect federally-licensed dealers from the NICS system the

      same day, Wednesday, September 13, 2023. The firearms industry was created by the federal

      Gun Control Act of 1968. The Brady Act of 1993, passed after five years of intense public

      debate and amendment, created the NICS background check system, which then underwent

      another five years of development, overseen by Congress. FBI-NICS with ATF dealer

      interface has been operational more than 25 years – all as detailed in our pending submission.

      The NYS Police have had no active role in any of this.

9. Note, also, the NYSP Acting Superintendent has not certified, in accordance with their 2022

      laws, the operational status of the ammunition background check. The Hochul-Nigrelli

      notification letter indicates the system will launch on September 13, 2023. It does not say

      that the ammunition background check system is operational. The ammunition background

      check is also contrary to law, as well as previously argued flatly unconstitutional and without

      legal defense being made by the state. There is no historic precedence or analogue for an

      ammunition background check system, and this is pending, as well.

10. Gazzola v. Hochul is the only case to challenge the state laws at issue in this emergency

      motion. New York is the only state in the country to enact provisions housed in NY General

      Business Law § 875, which is the primary statute challenged in this case.

11. The plaintiffs request not only an emergency stay, they request an expedited motion schedule.

      FRAP 27(a)(3)(A). 1


1
    I apologize, en avance, for using something of a hybrid form in this Declaration, as well as that of
     plaintiffs Nadine Gazzola and Craig Serafini and witness Richard Sehlmeyer. Each of us uses



                                     Attorney Declaration – Page 4
               Case 22-3068, Document 90, 08/29/2023, 3562455, Page7 of 62




                                  Litigation Background Overview

12. A Joint Appendix is on file with the Second Circuit, along with a Brief [68], a Reply [85],

    and audio recording of oral arguments of March 20, 2023.

13. Briefly:

        a. This case was commenced November 1, 2022 through the filing of a Complaint in the

            Northern District Court. An emergency motion for TRO/PI was filed November 8,

            2022. The motion was denied, in full, without testimony, on December 2, 2022 via

            text order.

        b. On December 12, 2022, an appeal with emergency motion was filed to the Second

            Circuit. [12, 39] It was denied on December 21, 2022 by Judges Sack, Wesley, and

            Bianco, but with judicial direction for an expedited briefing schedule for the appeal.

            [29] 2

        c. On January, 2023, an appeal with emergency motion for the TRO was filed to the

            U.S. Supreme Court. Reply submitted January 12, 2023. It was denied on January 18,

            2023. [Case 22A591]

        d. On January 3, 2023, an appeal under SCOTUS Rule 11 in the form of a Petition for

            Writ of Certiorari Before Judgment for the PI was filed. Reply, after three NYS

            adjournments, was submitted April 3, 2023. This, too, was denied, date April 24,

            2023. [Case 22-622]


  discussion of federal and state law because it is how our industry functions. Literally, we all routinely
  look at the black letter of laws, guidance documents, rulings, and decisions, together, over the counter,
  at conferences, and in consultant and attorney offices. Time pressure for submission made this the best
  form for our group.
2
  Note is made that the case is now stayed below, by order of the District Court Judge.



                                    Attorney Declaration – Page 5
             Case 22-3068, Document 90, 08/29/2023, 3562455, Page8 of 62




14. This case, along with four others, was brought together for oral arguments by the Second

   Circuit. One of the cases heard in tandem was the Antonyuk II v. Nigrelli case. Those

   plaintiffs also filed an emergency motion to SCOTUS, a week or so ahead of ours. [22A557]

   Their motion, too, was denied, however, Justices Alito and Thomas penned a dissent,

   including this guidance, stating:

               “I understand the Court’s denial today to reflect respect for the
               Second Circuit’s procedures in managing its own docket, rather
               than expressing any view on the merits of the case. Applicants
               should not be deterred by today’s order from again seeking relief if
               the Second Circuit does not, within a reasonable time, provide an
               explanation for its stay order or expedite consideration of the
               appeal.”

15. All of the attorneys of record in the five cases already on appeal, plus additional cases in

   District Court, have demonstrated a diplomatic professionalism as we, our clients, and the

   broader public, await the Second Circuit decisions.

16. Defendants Hochul and Nigrelli shattered that respectful calm so many of us have actively

   worked to build in these months.

17. Sadly, as I predicted in every paper submitted and oral argument held, the plaintiff FFL

   dealers and pawnbroker in firearms in this case were always going to be the most vulnerable

   target for bad actions by the defendants. The woman and the men of Gazzola v. Hochul

   operate their small businesses out of physical business premises with regular hours, open to

   the public or otherwise through regularly-scheduled appointments, and the new laws made

   them subject to a right of entry by the NYSP to conduct the new compliance audits that treat

   federally-licensed dealers like criminals, as opposed to using the administrative processes

   sanctioned by Congress and carried out by the FBI and the ATF with these FFLs.




                                  Attorney Declaration – Page 6
                Case 22-3068, Document 90, 08/29/2023, 3562455, Page9 of 62




18. As I have stated:

                   “The Plaintiffs are sitting ducks as of Monday, December 5, 2022. 3
                   If they turn the key, turn on the lights, and open their front door,
                   evidence of their crimes will be in plain sight.” [12, pp. 32-33.]
                   “And, Petitioners are sitting ducks for having licenses anchored to
                   fixed business premises addresses and violations that are in plain
                   view any hour of any day that they are open to the public,
                   including their valued law enforcement customers, not the least of
                   whom are NYSP officers. [[ECF] 13-3, ¶¶38, 58].” [22A591, p. 9]

19. See, also, ECF 27, TR27:8-13 and the audio recording of my Second Circuit oral arguments.

20. Adding irrefutable weight to this emergency submission is the abrupt, aggressive behavior of

      Hochul and Nigrelli, in targeting plaintiff Craig Serafini, and several additional FFLs in the

      greater Albany area, including Mr. Richard Sehlmeyer (herein, a supporting witness).

      Mr. Sehlmeyer is, himself, a retired Trooper, who is currently an FFL in firearms.

21. That Hochul and Nigrelli launched their attack using such an egregious over-reach of the

      very law Hochul jammed through the state legislature last summer is an unprecedented tactic.

      Defendants Hochul and Nigrelli have officially announced in writing their plan to do so – a

      letter first received by Mr. Jarrett Ford, an FFL dealer in firearms who also submits an

      affidavit in support of this emergency motion.


               Chronological Sequence of Events Supporting this Emergency Motion

22. The following is a chronological sequence of events supporting this emergency motion. 4




3
    The effective date of the new laws complained of, herein.
4
    For the information of the court, the timing of these events reaching me is not co-linear with the dates of
     the events. For example, any written and e-mail communication was not received by all of my FFL
     plaintiffs. Indeed, more than one of the plaintiffs has not received even one of the letters and e-mails,
     herein. This motion is assembled with the assistance of more than fifteen FFLs based in NY. I selected
     either a plaintiff or the first dated enabling witness FFL to produce this motion, as quickly as possible.



                                       Attorney Declaration – Page 7
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page10 of 62




23. July 25, 2023 – FFL and retired Trooper Richard Sehlmeyer was put through the first dealer

   inspection and is given a copy of the 31-point dealer inspection “checklist” from an officer of

   the NYSP “Domestic Terrorism Task Force.”

24. August 4, 2023 – the National Shooting Sports Foundation sends an e-mail to its FFL dealer

   members in NY with a run-down of the substance of its call with the NYSP. It includes a

   potential launch date of September 13, 2023.

25. August 9, 2023 – an officer of the NYSP “Counter Terrorism Intelligence Unit” delivers the

   4-page “checklist” to plaintiff Craig Serafini’s employees, then later returns to engage

   Mr. Serafini in a substantive conversation on his compliance with the new laws.

26. August 10, 2023 – Mr. Serafini, receives an e-mail from “Angie” at the NYSP, informing him

   he is one of “a select few stores” invited to an advance viewing of “a test” of the new

   background check system. The NYSP e-mail advises him to keep this a secret.

27. August 10, 2023 – the first of my two letters went out to opposing counsel at the NYS-AG.

28. Saturday, August 19, 2023 – FFL Jarred Ford receives the Hochul-Nigrelli notification letter

   (undated) via USPS first class mail (postmark August 17, 2023).

29. August 21, 2023, week of – various FFLs begin receiving e-mails or first class mail copies of

   the Hochul-Nigrelli notification letter.

30. August 23, 2023 – various FFLs, including lead plaintiff Nadine Gazzola, began receiving

   e-mails from the FBI-NICS Unit with a .PDF of the Hochul-Nigrelli notification letter. Other

   FFLs, and some twice, receive this FBI-NICS Unit e-mail.

31. August 23, 2023 – the second of my two letters goes out to opposing counsel.




                                  Attorney Declaration – Page 8
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page11 of 62




32. To the best of my knowledge, only Mr. Serafini has received every communication and

   inspection herein complained of. His risk of arrest by the defendant NYSP is palpable. His

   shop is the closest proximity to the Capitol of the plaintiffs, of Mr. Sehlmeyer, and of other

   FFLs that contacted me. As I expressed to my opposing counsel, I fear Mr. Serafini is being

   targeted by the defendants for no reason other than his proximity to the Capitol and the

   Albany media radius.


        The Hochul-Nigrelli Letter of August 18 Reveals the Intended Power Grab.

33. Allow me at this point to explain in the technical language of our industry what has

   happened, and then to detail it with supporting statutory references, slowly, to walk the court

   through the extent of the defendants’ bad faith.

34. In summary: On or about August 17, 2023, defendants NYS Gov. Hochul and NYSP Acting

   Superintendent Nigrelli abruptly announced, in writing, their intention to take over all

   firearms background checks in New York and to concurrently launch a new ammunition

   background system, as of Wednesday, September 13, 2023. A Hochul-Nigrelli take-over of

   all firearms background checks exceeds even their own 2022 state statutory authority. The

   Acting Superintendent has not certified the operational status of the ammunition background

   check.


      The Definition of “Firearm” at the Federal and State Levels Are Not the Same.

35. The plaintiffs’ argument in support of this emergency motion is simple and legally correct.

   The New York definition of “firearm” is not the same as the federal definition of “firearm.”

   The New York definition of “firearm” is akin to the federal definition of “handgun.” The

   U.S. definition of “firearm” overarches all manner of firearms and some component parts,



                                 Attorney Declaration – Page 9
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page12 of 62




   including, but not limited to, handguns, shotguns, rifles, frames, and receivers, as well as

   classifications of firearms that do not go through a NICS background check, like antique

   firearms. The New York definition of “firearm” is, by contrast, is a list of four types of

   “firearms” at federal law (delineated, below).

36. It is easy to grasp this aspect of basic firearms compliance law of FFLs in New York if you

   start with federal law. This is because if a person or a transaction fails at the federal level, the

   analysis is done. It’s a fail. We in the industry begin all analysis by this approach.

       a. If there is a proceed or permitted activity at the federal level, then one does the drill

           down, in case there are state and/or local restrictions that could apply.

       b. Nationwide, there are few state and/or local restrictions, and they occur in hotbeds of

           restriction, such as New York City.

37. Until the news laws jammed through in summer 2022, as detailed throughout our filings in

   this case, the State of New York had very limited involvement and limited restrictions in the

   field of firearms compliance law involving FFLs. Excepting something like the state

   statutory definition of an “assault weapon” (eff. 2013), candidly, the federal system is so

   comprehensive that one rarely thought about state law, and, because there are so few FFLs

   left in New York City, one simply doesn’t respond to questions from those dealers without

   studious attention to applicable local laws in their most recent iteration. Most federal-level

   consultants in this field do not even offer services at the NY state level.

38. It is critical the court look at and appreciate the difference between federal and state law for

   the definition of the word “firearm.” These distinctions have no discernable litigation

   precedent.




                                  Attorney Declaration – Page 10
               Case 22-3068, Document 90, 08/29/2023, 3562455, Page13 of 62




39. Begin with the federal definition of “firearm” (hereafter “firearm-U.S.”) at 18 U.S.C.

      §921(a)(3), as follows:

                  “The term “firearm” means (A) any weapon (including a starter
                  gun) which will or is designed to or may readily be converted to
                  expel a projectile by the action of an explosive; (B) the frame or
                  receiver of any such weapon; (C) any firearm muffler or firearm
                  silencer; or (D) any destructive device. Such term does not include
                  an antique firearm.” 5

40. Now, here is the New York definition of “firearm” (hereafter “firearm-NY”) from

      NY PEN §265.00(3):

                  "Firearm" means (a) any pistol or revolver; or (b) a shotgun having
                  one or more barrels less than eighteen inches in length 6 ; or (c) a
                  rifle having one or more barrels less than sixteen inches in length 7 ;
                  or (d) any weapon made from a shotgun or rifle whether by
                  alteration, modification, or otherwise if such weapon as altered,
                  modified, or otherwise has an overall length of less than twenty-six
                  inches; or (e) an assault weapon 8 ; or (f) any other weapon that is
                  not otherwise defined in this section 9 containing any component
                  that provides housing or a structure designed to hold or integrate
                  any fire control component that is designed to or may readily be
                  converted to expel a projectile by action of explosive…” (emphasis
                  added; technical specifications for measurements omitted)

41. New York could have chosen to incorporate federal statutes and/or regulations when it added

      definitions to its state laws. It did not.




5
  This definition was incorporated from the Gun Control Act of 1968 into the Brady Act of 1993 (which
   established NICS) at 28 CFR §25.2.
6
  Such “short-barreled shotgun,” defined at 27 CFR §478.11 being prohibited at federal law with limited
   exception. 27 CFR §478.98.
7
  Such “short-barreled rifle,” defined at 27 CFR §478.11 being prohibited at federal law with limited
   exception. Id.
8
    A term existing only at state law.
9
    The terms “rifle” and “shotgun” being defined in the same section, see, NY PEN §§400.00(11), (12).



                                      Attorney Declaration – Page 11
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page14 of 62




42. Instead, New York wrote its own definitions for the words “firearm,” “rifle,” and “shotgun.”

   Hochul’s 2022 laws reinforced and compounded the “firearm” dichotomy. When Hochul

   pushed through her 10-bill package in summer 2022, amendments were made to the New

   York definitions of “firearm,” “rifle,” and “shotgun.” (See, NYS Senate Bill 51001, p. 20,

   §24, effecting NY PEN §265.00(11), “Rifle,” and §265.00(12), “Shotgun.”) The state word

   definitions were edited a bit, but substantially retained their original meaning. Hochul

   intended these words remain separate and distinct from federal law. The term “firearm” in

   New York continues to mean, essentially, the handgun, such as a pistol or revolver.

43. Hochul and Nigrelli cannot now simply gloss over the definition of words in New York

   statutes of their own making in order to vastly expand their scope of power. It is an over-

   reach for Hochul and Nigrelli to assert power over the entire federal background check

   interface for FFLs with the FBI/ATF.

44. Here is the language in the Hochul-Nigrelli letter that demonstrates their bad intention:

       a. “This means that starting on September 13, 2023, background check requests for

           firearm, rifle, shotgun, and ammunition purchases will be submitted to the New

           York State Police and dealers will no longer submit requests directly to FBI NICS.”

           (emphasis added, ¶1)

       b. “Effective September 13, 2023, prior to transferring a firearm, rifle, shotgun, or

           ammunition to a purchaser, you must go to www.NYSNICS.ny.gov to complete the

           background check process.” (emphasis added, ¶3)

45. Defendants Hochul and Nigrelli have now revealed in writing that they do not intend to

   comply with their own laws – which laws of lesser power are already being challenged




                                  Attorney Declaration – Page 12
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page15 of 62




   through this case. This power grab is illegal by the defendants’ own laws, even if our

   challenge to the new laws utterly fails.


    The Definition of “Point of Contact” Refers to Three Sub-Types, of which NY Law
                            Authorizes Only a “Partial POC.”

46. Additional support for plaintiffs’ arguments from the Hochul-Nigrelli written notice is

   defendants’ use of the industry term “Point of Contact.” The defendants’ use of this phrase is

   further proof of their intention to exceed the scope of state statutory authority enacted in

   2022, and challenged in this lawsuit and in the pending appeal of request for preliminary

   injunction.

47. The additional vocabulary for this motion is “Point of Contact.” This is a federal phrase from

   the 1993 Brady Act, signifying which federal and/or state agency is on lead to the FFL for

   which type of firearm for the FFL-initiated background check using the federal ATF

   Form 4473. 28 CFR §25.1.

       a. A “NICS state” or a “Brady state” or a “Non-POC state” is one where the FFL

           directly contacts the FBI for all background checks. This is true in the majority of

           thirty-eight (38) states in the U.S. and U.S. Territories. https://www.fbi.gov/file-

           repository/nics-participation-map.pdf.

       b. A “single POC state” or “full POC state” or simply a “POC state” is one where the

           FFL contacts a state office or agency, which a state intermediary contacts the FBI for

           the NICS database portion of a federally-required firearms background check, only.

           The state supplements the NICS using its own records and criteria for personal

           disqualification. This is the system in thirteen (13) states/territories.




                                  Attorney Declaration – Page 13
                Case 22-3068, Document 90, 08/29/2023, 3562455, Page16 of 62




           c. A “partial POC state” is one where the FFL contacts the FBI-NICS for the long gun

               background checks and, separately, contacts the state for the handgun checks. Like

               the state in a “single POC state,” the state in the “partial POC state” is the

               intermediary to the FBI-NICS and supplements using its own records and criteria for

               personal disqualification. This is the system in only five (5) states/territories.

48. An ATF website page also illustrates these types by states with detail on which state agency

      is at play in partial or full POC states. See https://www.atf.gov/rules-and-

      regulations/permanent-brady-state-lists.

49. NY EXEC §228(1)(a) and (b) authorized New York to become, only, a “partial POC state.”

      The language is clear, as follows:

                   “(a) The division is hereby authorized and directed to serve as a
                   state point of contact for implementation of 18 U.S.C. sec. 922(t),
                   all federal regulations and applicable guidelines adopted pursuant
                   thereto, and the national instant criminal background check system
                   for the purchase of firearms and ammunition 10 .”

                   “(b) Upon receiving a request from a licensed dealer pursuant to
                   section eight hundred ninety-six or eight hundred ninety-eight of
                   the general business law, the division shall initiate a background
                   check by (i) contacting the National Instant Criminal Background
                   Check System (NICS) or its successor to initiate a national instant
                   criminal background check, and (ii) consulting the statewide
                   firearms license and records database established pursuant to
                   subdivision three of this section, in order to determine if the
                   purchaser is a person described in sections 400.00 and 400.03 of
                   the penal law, or is prohibited by state or federal law from
                   possessing, receiving, owning, or purchasing a firearm or
                   ammunition.”


10
     The state makes an error of federal law in this provision. There is no federal ammunition background
     check requirement or system. 18 U.S.C. §922(t) specifically and only relates to the transfer of “a
     firearm,” as that term is defined at federal law. It is illegal for a state to use or attempt to use the NICS
     federal background check system for an ammunition background check. 28 CFR §25.11. This point is
     briefed throughout our record.



                                        Attorney Declaration – Page 14
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page17 of 62




50. The NY EXE §228(1)(a) use of the word “firearms” is already covered above. The “licensed

   dealer” referenced in NY EXEC §228(1)(b) is the state-licensed dealer in “firearms,” per the

   state statute, meaning handguns. NY GBL §896 is the gun show operator. NY GBL §898 is

   the private sale or transfer of firearms.

51. Defendants Hochul and Nigrelli misrepresent the law in their notification letter of August 17,

   2023 when they write “Pursuant to Executive Law §228, New York has been designated a

   Point of Contact state for the purpose of processing National Instant Background Check

   (“NICS”) transactions.” That is not true. NYS is, at best, if all our challenges fail, a partial

   POC state.

52. Hochul’s new (2022) laws direct NY-licensed dealers to contact NYSP for background

   checks for “firearms” only. NY EXE §228(7)(i) and (ii), referencing only “firearm.”

53. The new laws neither authorize the state, nor require FFL dealers, to go through the NYSP

   for background checks for, e.g., rifles, shotguns, frames, receivers, and/or antique firearms.

   NY-licensed dealers are required to contact NYSP for a background check only in accordance

   with NY EXE §228. See, NY PEN §400.06(1), which states:

                “Any dealer in firearms that sells, delivers or otherwise transfers
                any firearm shall contact the division of state police to conduct a
                national instant criminal background check pursuant to section two
                hundred twenty-eight of the executive law.”

54. This new law came out of the same NYS Senate Bill 51001, the “Concealed Carry

   Improvements Act,” or “CCIA.”

55. Defendant Hochul is a NYS-licensed attorney. Hochul originated the bills to the legislature,

   based upon her personal engagement with “experts” and named attorneys from outside




                                  Attorney Declaration – Page 15
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page18 of 62




   influence groups, as detailed in our filings in this case, beginning with the Complaint filed

   November 1, 2022. The use of partial POC language in state statutes was intentional.


A NYS Dealer License is Only Required if an FFL Wants to Sell “Firearms,” as Defined by
                 State Law, Meaning the Type Known as Handguns.

56. The reading of state law urged herein is consistent with New York’s state dealer licensing

   scheme. New York only requires an FFL to obtain a duplicitous state license if the FFL

   intends to sell handguns. The NYS dealer license grants the authority for an FFL to sell

   “firearms,” meaning handguns, such as pistols or revolvers. Here is the state statutory

   language at NY PEN §265.00(9):

               “"Dealer in firearms" means any person, firm, partnership,
               corporation or company who engages in the business of
               purchasing, selling, keeping for sale, loaning, leasing, or in any
               manner disposing of, any assault weapon, large capacity
               ammunition feeding device, pistol, revolver, or semiautomatic
               rifle.” (emphasis added)

57. An FFL Type-01 or Type-02 doing business in New York, such as the plaintiffs, is already

   federally-authorized to sell firearms in accordance with federal laws, regulations, guidance,

   and rulings. No state license is required if an FFL chooses not to sell handguns and sells all

   other items permitted by the federal license, e.g., rifles, shotguns, frames, and/or receivers.

58. The new state laws, seeking to insert the NYSP between FFLs and the FBI must be read to

   apply to those FFLs with NYS dealer licenses to sell “firearms,” meaning handguns, and only

   for a handgun background check. There is no other way to read these state laws.

59. The Hochul-Nigrelli letter makes false claims that New York will become now a “single POC

   state,” as follows:




                                 Attorney Declaration – Page 16
           Case 22-3068, Document 90, 08/29/2023, 3562455, Page19 of 62




       a. “This means that starting on September 13, 2023, background check requests for

          firearm, rifle, shotgun, and ammunition purchases will be submitted to the New York

          State Police and dealers will no longer submit requests directly to FBI NICS.”

          (emphasis added, ¶1)

       b. “As a dealer, you and your staff will be required to register on the NYSNICS.ny.gov

          web application in advance of New York becoming a Point of Contact State.” (¶2)

       c. “Effective September 13, 2023, prior to transferring a firearm, rifle, shotgun, or

          ammunition to a purchaser, you must go to www.NYSNICS.ny.gov to complete the

          background check process.” (¶3)

60. At best, NYSP may insert itself between the FFL who is a NY-licensed dealer and the FBI for

   NY “firearm” defined transactions, only, meaning, essentially, for handgun purchase

   background checks, only. Not for rifle purchase background checks. Not for shotgun

   background checks. There is no state statutory scenario whereby defendants Hochul and

   Nigrelli can take-over the entire “firearms” (by federal definition) background check system

   for FFLs.


  Worse, the NYSP Targeted a Plaintiff and Other FFLs Near the Capitol for Compliance
               Inspections that Could Result in Their Immediate Arrest.

61. On July 25, 2023, unbeknownst to anyone but one dealer, Richard Sehlmeyer (now a witness,

   herein) the NYSP began compliance inspections, using the very laws challenged in this

   lawsuit and pending for a preliminary injunction. An emergency stay is critical to stave off

   impending criminal charges against one (or more) of the plaintiffs and additional FFLs

   similarly situated, such as Mr. Sehlmeyer. It is clear from the investigating officers’

   comments that there is top-down pressure to get underway with the inspections and an



                                 Attorney Declaration – Page 17
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page20 of 62




   estimate that the entire industry will be inspected within three years, with the results of the

   inspections “likely” being sent to the ATF to also impact federal licenses.

62. Mr. Serafini and Mr. Sehlmeyer set out their NYSP investigator encounters in accompanying

   affidavits.

63. Each violation of a new compliance law, nearly all of which are challenged within this

   lawsuit and requested to be stayed via preliminary injunction, is chargeable as an

   A misdemeanor. It is not an administrative violation limited to monetary fine and/or

   remediation.

64. All stories from inspected FFLs are the same: the NSYP-JTTF investigator modus operandi

   is a script of “lack of training” and needing “help” from the dealer to go back to the office

   with something to put on the “Whiteboard.”

65. On Thursday, August 10, 2023 and Wednesday, August 25, 2023, I sent detailed letters to

   opposing counsel with enclosures, including requests for his assistance in verification of

   what was starting to come in to me and for his assistance of his clients voluntarily waiting for

   at least the Second Circuit ruling on the pending motion for preliminary injunction. In sum

   and substance, Mr. Kiernan responded that he had nothing of substance to offer.

66. This emergency motion ensues.

Respectfully submitted this 30th day of August 2023

                                              Paloma A. Capanna
                                              Counsel to the Plaintiffs




                                 Attorney Declaration – Page 18
                Case 22-3068, Document 90, 08/29/2023, 3562455, Page21 of 62




                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF NEW YORK

_______________________________________________

Nadine Gazzola, individually, and as co-owner,
President, and as BATFE Federal Firearms Licensee
Responsible Person for Zero Tolerance
Manufacturing, Inc.; et al.

           Plaintiffs

     v.

KATHLEEN HOCHUL, in her Official Capacity as
Governor of the State of New York; et al.

      Defendants
______________________________________________


                               DECLARATION OF JARRETT FORD
                                   – FORD AND SONS FIREARMS

1.        I am Jarrett Ford and I make this Declaration under penalties of perjury. These statements

          are true to the best of my knowledge, and are based upon my personal knowledge and

          experience unless otherwise specified.

2.        I submit this affidavit in support of the plaintiffs’ emergency motion for a judicial stay of

          the defendants’ demonstrated intention to take over all firearms purchase background

          checks and against any state compliance inspections using the new (2022) laws.

3.        I hold and am the responsible person for a federal license Tye-01 to be a dealer in

          “firearms,” as that term is defined at federal law. I am new to the industry. I opened my

          doors in November 2022.

4.        Because I sell handguns, I also have a state license as a dealer.



                                     Jarrett Ford – Declaration – Page 1
                                           Ford and Sons Firearms
           Case 22-3068, Document 90, 08/29/2023, 3562455, Page22 of 62




5.    HochuJ..Nigrelli notification letter authentication. My role in supporting this emergency

      motion is to authenticate the physical letter I received through the USPS on Saturday,

      August 19, 2023 on the letterhead ofNYS Gov. Kathleen Hochul and NYS Police Acting

      Superintendent Stephen Nigrelli The letter does not bear a date (''August_, 2023").

      The envelope was postmarked by USPS on August 17, 2023.

6.    Attached to this declaration is a true copy of this letter and envelope as I received it.

7.    No other NYSP communication. I did not receive the "Angie" e-mail (August 10, 2023).

      No NYSP officer bas visited my shop, nor has an officer provided me with a copy of the

      4-page dealer compliance checklist. I did not receive an e-mail from the FBI-NICS Unit

      (August 23, 2023 or August 25, 2023).

8.    The Ford and Sons Firearms state license original application was processed through my

      local Greene County Clerk's Office. The NYS Police played no role in my state license

      and renewal process. The state license was signed by a county court judge. Upon

      information and belief, the county sheriff's office initiates the background checks as part of

      that county-centric process. From beginning to end, as a "state-licensed dealer," I had no

      direct contact with or from the state or the NYS Police.

9.    My physical business premises is in the village of Catskill, Greene County, New York.

10.   I am available to provide testimony or further written submission, if the court requests it.

Whereas, I respectfully request this emergency motion be granted in favor of the plaintiffs.

Dated: August 28, 2023




                                 Jarrett Ford- Declaration- Page 2
                                       Ford and Sons Firearms
                                       Case 22-3068, Document 90, 08/29/2023, 3562455, Page23 of 62


    KA THY HOCH UL
    Governor



   Ford and Sons Firearms

   Hudson NY 12534
                                                                                                                August _, 2023


  To·: - ·New-York· State Firea~m Dea·lers· and Ammunition -Sellers-
             .                                           .
  Pursuant to Executive Law .§ 228, New York has been designated a Point of Contact state
  for the purpose of processing National Instant Background Check ("NICS") transactions.
  This means that starting on September 13, 2023, background check requests for firearm,
  rifle, shotgun, and ammunition purchases Will be submitted to the New York State Police,
  and dealers will n·o longer _s ubmit requests directly to· FBI NICS. · ·
         .                                                                                   .

 As a dealer, you and your staff will be· required to register on the NYSNICS.ny.gov web
 application in advance of NeW York .be~o_ming a Point of Contact State. Instructions on
 the registr~tion process will be posted on the-www·. NYSNICS.ny.gov site.

 Effe.c tive September 13, 2023, prior to tran_sferring a firearm, rifle, shotgun, .or ammunition
 to a purchaser, you _
                     m ust go to www.NYSNICS.ny.gov to complete the background Check
 process.

An Interactive Voice Response (IVR) tel~phone so_      lution will be implemented as we\\ so
you may call in a background check r~quest to 1-877-NYS-NICS should the online system
be unavai'lable: ·To-use thi?-_functio•nality, you must--have already set up yoar business's
online profile and h8ve a saved payment method on file in the NYSNICS application which
you can register and login to at www.NYSNICS.n·y.gov.                         ·

Please visit www.NYSNICS.ny.gov for more details about Point of Contact.



                                                                          New York State Police
                                                                          NYS NICS Unit
                                                                          1-877-NYS-NICS
                                                                          NYSNICS@troopers.ny.gov



                  Building 22, 1220 Washington ·Avenue, Albany, NY 12226                         I www.troopers.ny.gov
                                                                                                                                                              i: ~:,;:,_ ,,~
NEW y,q~ , 1pifiAf1lffllFl',?'l.f lCij1fl rf(I' 1ff{tf1 ff1 ti1H/ / 11   9:---u..•a•-i   7-i-;=,k   t ~"::t::r.::r::r=?;:: 1:
         Building 22                                                                                                                                    /ihl
                                                                                                                                                   SQ}@.66°
                                                                                                                                          ~- ' lii ffip~
                                                                                                                                            . .   -· · ....   AUG 17 2J23
    1220 Washington Ave.                                                                                                        1111111                       ZIP 12207
   Albany, NY 12226-2252                                                                                                                                      02    1T
                                                                                                                                                              3 0108 63

          OFFIC IAL BUSIN ESS




                                                                                                                                                                                                                                     i..,
                                                                                                                                                                           Case 22-3068, Document 90, 08/29/2023, 3562455, Page24 of 62




                                                                                                                                                                                                                                            1
                                                                                                                                                                                                                                            ~l
                Case 22-3068, Document 90, 08/29/2023, 3562455, Page25 of 62




                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF NEW YORK

_______________________________________________

Nadine Gazzola, individually, and as co-owner,
President, and as BATFE Federal Firearms Licensee
Responsible Person for Zero Tolerance
Manufacturing, Inc.; et al.

           Plaintiffs

     v.

KATHLEEN HOCHUL, in her Official Capacity as
Governor of the State of New York; et al.

      Defendants
______________________________________________


                        DECLARATION OF PLAINTIFF CRAIG SERAFINI
                                    – UPSTATE GUNS & AMMO

1.        I am Craig Serafini and I make this Declaration under penalties of perjury. These

          statements are true to the best of my knowledge, and are based upon my personal

          knowledge and experience unless otherwise specified.

2.        As a co-plaintiff in the above-captioned case, I have read and am familiar with the contents

          of this emergency motion, specifically, and the record of this case, generally.

3.        I submit this affidavit in support of the emergency motion. I incorporate as if set forth

          herein the explanations of the definitions of the word “firearms” at federal and at state law,

          and of the reading of the new (2022) state law as limiting the defendants, at best, to that of

          a “partial POC state” and at best to inspections of NY-licensed dealers in handguns.

          I concur with the description of the federal and state laws relating to what types of firearms


                                   Craig Serafini – Declaration – Page 1
                                          Upstate Guns & Ammo
             Case 22-3068, Document 90, 08/29/2023, 3562455, Page26 of 62




       may be sold under which federal and state license. It is clear to me that any attempt by the

       defendants to take over all firearms background checks – as the term “firearms” is

       understood at federal law – would exceed their state-level authority. It would also exceed

       state-level authority for the defendants to audit all federally-licensed dealers or even all

       FFL Type-01s.

4.     I continue to object to everything set forth in our original motion for TRO/PI, and continue

       to ask the Second Circuit to rule in favor of the plaintiffs on our appeal of the request for

       preliminary injunction. I continue to object to the defendants’ intention to push their way

       in between our federally-licensed business and the FBI-NICS Unit, as set forth in my

       Declaration in support of the TRO/PI. [ECF Doc. 13-4]

5.     This emergency motion is necessitated by the defendants’ bad acts. I ask this court to rule

       on this emergency motion ahead of Wednesday, September 13, 2023, in order to (a.) stave

       off any impending arrest of myself, any other of the plaintiff(s) and any other FFLs

       similarly situated; (b.) stop the defendants from initiating a background check system on

       all firearms (federal definition) in excess of state authority 1 ; (c.) stop the defendants from

       conducting compliance audits on all federal firearms licenses, regardless of type or state




1 Note of Counsel: the challenge to the state authority is pending as part of the appeal for a

     preliminary injunction. The declarations and exhibits to this motion demonstrate the
     intention of defendants to exceed even their own new power under the challenged state laws.


                                 Craig Serafini – Declaration – Page 2
                                        Upstate Guns & Ammo
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page27 of 62




      license, in excess of state authority 2 ; and, (d.) stop the defendants from launching an

      ammunition background check 3 , which system has not been certified as operational.

6.    I request the court rule in our favor on the already-pending appeal of our comprehensive

      motion for preliminary injunction. In submitting this emergency motion, I do not waive

      any argument or request previously submitted.

7.    NYSP dealer compliance interview at my store. On Wednesday, August 9, 2023,

      shortly after my store opened at 10:00 a.m., two NYS Police officers came to my store,

      “Upstate Guns & Ammo,” with a copy of the 4-page “checklist” in hand. I was not

      present. I received a call from one of my two employees who were present, Jimmy, asking

      when I would be getting there. I heard Jimmy to say that there were officers at the shop

      and they were dropping off a compliance checklist concerning the new laws. I received the

      4-page compliance checklist from my employees when I arrived at the shop. One officer

      returned, at or after approximately 2:00 p.m. I was present at the shop at that time. The

      ensuing conversation with the officer lasted approximately thirty minutes (30-minutes).

8.    Attached to this affidavit is a complete copy of the 4-page “checklist” from the NYSP

      investigator received August 9, 2023.

9.    I understood the purpose of the visit would be to discuss the suspicious, attempted

      ammunition purchase I had reported the prior week to the local police department and the



2 Note of Counsel: similarly, the challenge to the state authority is pending as part of the appeal

   for a preliminary injunction. The declarations and exhibits to this motion demonstrate the
   intention of defendants to exceed even their own new power under the challenged state laws.
3 Note of Counsel: the state authority is pending as part of the appeal for a preliminary

   injunction.


                               Craig Serafini – Declaration – Page 3
                                      Upstate Guns & Ammo
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page28 of 62




      FBI. I e-mailed the officer video surveillance footage of the suspect while he was still at

      the store, being at or about 2:48 p.m.

10.   The officer, however, wanted to talk about dealer compliance inspections, which relate to

      the “checklist.” The officer asked me pretty early in the conversation “whether your guys

      gave you the checklist that I dropped off,” or words to that effect.

11.   I knew enough about the new (2022) compliance laws from our lawsuit that I knew the

      NYSP “checklist” was the substance of what they are going to run us over with, if we

      don’t win our case. So, in response to his question I said words to the effect that if NYSP

      goes forward with these inspections and arrests dealers it will drive a wedge between

      dealers and law enforcement that will benefit no one but the actual criminals. The officer

      said “I know it. I get it. And I don’t blame you.”

12.   I got the near immediate impression from the officer, whose card indicates he is NYSP

      Investigator Bonanno, that he was a guy venting on the job about what he was being told to

      do by headquarters. I formed this impression because of the many remarks made by

      Investigator Bonanno during the conversation, including, but not limited to:

       a. the NYSP was told to start doing inspections “immediately;”

       b. he put together the 4-page form to improve what he understood to be the cut-and-

           paste list taken out of the General Business Law;

       c. dealer inspections have nothing to do with their jobs at JTTF [“Joint Terrorism Task

           Force”];




                               Craig Serafini – Declaration – Page 4
                                      Upstate Guns & Ammo
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page29 of 62




       d. the JTTF is being used as a “catch-all” and they are getting stuck with dealer

           inspections as an additional duty;

       e. he had no training in dealer inspections;

       f. he couldn’t answer questions about, e.g., definitions of specific terms or phrases,

           because the officers were trying to get their own answers to the same questions;

       g. he and other officers feel that some of the provisions are contradictory to one-and-

           other;

       h. any feedback on the checklist or whatever that I could share he would go back to the

           office and add it to the officers’ “White Board,” which is the questions they need

           answers to [before what, he didn’t say].

13.   Investigator Bonanno volleyed with me, behaving as if he was sympathetic to dealers

      getting caught under a pile of new requirements from the politicians in Albany. He

      referenced the new laws under NY General Business Law §875 with words like “This stuff

      doesn’t make any sense!” When Investigator Bonanno said “Where the hell are you

      supposed to send that?” (referencing copies of the Form 4473 and the A&D Book), I jived

      back, “You tell me,” and he bounced straight back, “That’s what I’m talking about!”

14.   Through Investigator Bonanno’s casual manner, body language, lack of uniform, and ease

      being within my small shop and with my employees and with customers going in and out,

      he came across to me as just a guy on the force who disagreed with what the upstairs guys

      were yelling at the rank-and-file to do, so he was just trying to give me the head’s up.




                               Craig Serafini – Declaration – Page 5
                                      Upstate Guns & Ammo
                Case 22-3068, Document 90, 08/29/2023, 3562455, Page30 of 62




15.     I did not know Investigator Bonanno prior to his contacting me over the suspicious

        customer I reported. He is not among the law enforcement customers who frequent my

        shop.

16.     At no time did Investigator Bonanno ask if I wanted to contact an attorney, nor did he

        inform me that I had no obligation to answer his questions or that I could remain silent or

        that I could plead the Fifth Amendment.

17.     I told Investigator Bonanno that I was a co-plaintiff in the Gazzola v. Hochul lawsuit about

        these very compliance laws, and he responded in a chummy manner, “Good! Somebody’s

        got to do something about this.” Investigator Bonanno gave me the distinct impression

        that he, personally, was on my side in the matter.

18.     Another example of an exchange between us was when Investigator Bonanno said that

        they did some calculations and they anticipate auditing every dealer within the next three

        years. I asked him how many hours he thought it would take to do a compliance

        inspection? He said maybe three of four. I then asked him how many hours he thought it

        took the ATF to do their most recent inspection at my shop? He said one to two hours.

        I told him: four ATF agents x three weeks, full-time. Investigator Bonanno expressed

        disbelief. He wanted to know why it took so long? When I started to give him a basic

        explanation of what’s involved in auditing an FFL’s A&D Book, 4 he told me he had no




4 Note by Counsel: the “A&D Book” is the dealer’s bound book of “Acquisitions and

      Dispositions,” as required by federal law, for each firearm brought into inventory (the
      “acquisition”) and taken out of inventory through, e.g., sale (the “disposition”). A detailed
      discussion concerning the same, including constitutional and legal challenges are pending as
      part of the appeal for a preliminary injunction.


                                 Craig Serafini – Declaration – Page 6
                                        Upstate Guns & Ammo
               Case 22-3068, Document 90, 08/29/2023, 3562455, Page31 of 62




        idea what I was talking about. None. Likewise, Investigator Bonanno said he had no idea

        the A&D Books are now trending towards on-line systems through third party vendors,

        such that a dealer might not have a physical copy of it on hand for spot inspections.

19.     Investigator Bonanno said the NYSP compliance forms would “likely” be forwarded to the

        ATF to affect our ability to get our licenses renewed.

20.     On the advice of Counsel, I am not including in this affidavit a full accounting of my

        statements to Investigator Bonanno because one or more such statements may have been

        made against my legal interests. I do not waive any defenses that may be available to me

        in any subsequent criminal case basis this submission in support of the emergency motion

        in this civil case.

21.     Investigator Bonanno referred to himself and his group as “JTTF.” It was not until

        preparing this affidavit that I registered that the business card of the officer states he was

        Mr. Brian Bonanno, Investigator, Counter Terrorism Intelligence Unit – Central, out of the

        Latham, NY office, with a troopers.ny.gov e-mail address. 5 Investigator Bonanno referred

        to himself and other officers speaking with dealers as “JTTF” and/or “Joint Terrorism Task

        Force.” It is only now that I look at his card that he gave me that I see “Counter Terrorism

        Unit.” I do not know the relationship, if any, between these two offices.




5 Note of Counsel: It appears the “Counter Terrorism and Intelligence Units,” the “Joint

      Terrorism Task Force,” and the “Intelligence Center” are all part of the state’s “Fusion
      Center.” See, Assistant Deputy Superintendent Lt. Col. Andrew J. Crowe on
      https://troopers.ny.gov/our-executive-team.


                                 Craig Serafini – Declaration – Page 7
                                        Upstate Guns & Ammo
               Case 22-3068, Document 90, 08/29/2023, 3562455, Page32 of 62




22.     According to the Troopers.ny.gov website page for the “Counter Terrorism Unit” at

        https://troopers.ny.gov/counter-terrorism:

                  “The mission of the New York State Police Office of Counter
                  Terrorism is to detect, deter, and prevent future terrorist attacks by
                  working in partnership with our citizens, the New York State
                  Division of Homeland Security and Emergency Services, and the
                  law enforcement community. The Office of Counter Terrorism
                  seeks to advance the efficient, timely and accurate exchange of
                  information on a statewide basis.”

23.     I did not receive further contact from Investigator Bonanno since then, as of the signing of

        this affidavit, the evening of August 28, 2023.

24.     NYSP “Angie” e-mail (August 10). I received an e-mail from “Angie” showing an

        e-mail box of “NYSNICS@troopers.ny.gov” (dated August 10, 2023). The subject line is

        “NYS Point of Contact Registration Pilot.”

25.     Attached to this affidavit is a copy of this e-mail.

26.     I did not respond to it. I did not participate in the session on August 18, 2023.

27.     NYSP “Pilot” e-mail (August 17). I also received an e-mail from the e-mail box

        “NYSNICS@troopers.ny.gov” (dated August 17, 2023). The subject line of this e-mail is

        “NYS Point of Contact Pilot Registration.”

28.     Attached to this affidavit is a copy of this e-mail and the .PDF version of the Hochul-

        Nigrelli letter attached to it. 6



6   Note from Counsel: This version of the Hochul-Nigrelli letter is the third such version
      transmitted to affiants. This version differs from the version received by Jarrett Ford as the
      date of “August 17, 2023” is completed. It differs from the version e-mailed out by the FBI,
      which bears no date line, as illustrated in the version received by Nadine Gazzola.


                                   Craig Serafini – Declaration – Page 8
                                          Upstate Guns & Ammo
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page33 of 62




29.   I did not respond to it.

30.   General Lack of NYSP Communication. I otherwise did not receive the Hochul-Nigrelli

      letter from the NYSP. Nor did I receive either of the two FBI e-mails, upon information

      and belief, received by co-plaintiff Nadine Gazzola.

31.   The Upstate Guns & Ammo state license original application and renewal applications

      since 2014 went through our local Schenectady County Clerk’s Office. The process of

      going through the county clerk’s office for the state dealer’s license and renewal is, upon

      information and belief, the same for all FFLs in New York. The NYS Police role in the

      state license and renewal is non-existent. The license and the renewal is reviewed and

      signed by a county court judge. Upon information and belief, the county sheriff’s office

      initiates the background checks as part of that process. From beginning to end, as a “state-

      licensed dealer,” I have no direct contact with or from the state or the NYS Police.

32.   My business premises is in Niskayuna, Schenectady County, New York. It has been at this

      location since I first obtained my original federal and state licenses in 2014. This is the

      business premises address I provided on each application and renewal form for my federal

      and state licenses.

33.   NSSF e-mail (August 4, 2023). I am also the authenticating witness for an e-mail

      I received on forward that originated from the National Shooting Sports Foundation

      (“NSSF”) on August 4, 2023. Upon information and belief, the NSSF sent it to their

      member FFLs in New York. It was forwarded to me by a NY distributor with whom I do

      business.




                                 Craig Serafini – Declaration – Page 9
                                        Upstate Guns & Ammo
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page34 of 62




34.   I was not invited to participate in any NYSP conference call for the NSSF and/or FFLs in

      New York. The same is referenced in the first paragraph of the e-mail. A substantial

      amount of the e-mail content is either validated by materials I received and include with

      this affidavit and/or, upon information and belief, are otherwise received and attached to

      affidavits from others in support of this emergency motion.

35.   Fear of Imminent Arrest. Since the encounter with the NYSP Counter Terrorism

      Investigator on August 9, 2023, my whole world is terrorized. I don’t know what’s going

      to happen to me. I fear that I could be arrested, at any time.

36.   I am dealing with this immediate threat on a day-to-day basis. I’ve started explaining to

      my kids, “If something happens, you guys gotta pick up the load while I’m in handcuffs or

      whatever -- ” I’m trying to explain to them “This is where things are, if you have to come

      to get me.” I mean, how do I even talk to my kids about this? I don’t know what’s

      involved in living a life where you have to worry about the very real probability that

      you’re going to get arrested. Within this past year of the lawsuit pending, I achieved my

      goal of becoming an ordained minister.

37.   What confounds me about this juncture is all I’ve done is want to create a business that

      I could enjoy with people who have similar interests and to do so legally.

38.   I’m confused, trying to reflect on what I’ve been thinking since December 5, 2022, the day

      these laws we’re fighting in this case went into effect. I think I’ve managed the past year

      of working with counsel on this case based upon my belief that the police would respect

      that we’ve taken them to court and we’re doing the right thing and that we’ll all respect the

      ultimate decision [on the merits]. I mean, my brain comprehends that we don’t yet have a


                              Craig Serafini – Declaration – Page 10
                                     Upstate Guns & Ammo
           Case 22-3068, Document 90, 08/29/2023, 3562455, Page35 of 62



       formal Qudicial) stay, but it's the Second Amendment and I'm a federally-licen
                                                                                            sed dealer
      fulfilling all federal, state, and local requirements, excepting one or more of the
                                                                                             new
      (2022) compliance laws that are the subject of this lawsuit. Since commencemen
                                                                                              t of this
      case on November 1, 2022, we've all - both sides of this case plus all the other
                                                                                            CCIA
      cases - we've all come this far in a sort of a detente or a civilized understanding
                                                                                              that we
      would all respect the process.

39.   In my heart, I want to say that I still believe in the system that we have and if
                                                                                          you do the
      right thing you're not in jeopard y, but now? This belief - this core belief - is
                                                                                          now hanging
      by a thread of hope. I don' t know what's going to happen to me, if the court
                                                                                          doesn't grant
      an immediate stay.

40.   I am available to provide testimony or further written submission, if the court
                                                                                          requests it.

Whereas, I respectfully request this emergency motion be granted in favor of
                                                                                 the plaintiffs.

Dated: August 28, 2023                                                    ~/

                                              Craig Serafini




                             Craig Serafini - Declaration - Page 11
                                    Upstate Guns & Ammo
   Case 22-3068, Document 90, 08/29/2023, 3562455, Page36 of 62




    NY Dealer Certification/ Compliance Checklist
Business Name/FFL Number                   Address



Date Inspected                             Inspected By



                                                             Yes       No




                                                             □□
1) Has the dealer implem ented a security plan? {GBL
875-b{l})
                                                             Yes       No
2) Are all firearms, rifles and shotguns secured, other
than during business hours, in a locked fireproo f safe or
vault on the dealer's business premises or in a secured
and locked area on the dealer's business premises?

                                                             Yes       No




                                                             □□
3) Is ammun ition stored separately from firearms, rifles
and shotguns and out of reach of customers?

                                                             Yes       No




                                                             □□
4) Is the dealer's business premises secured by a
security alarm system that is installed and maintained
by a properl y licensed security alarm operator?

                                                             Yes       No




                                                             □□
S) Is the security alarm system capable of being
monito red by a central station?
                                                             Yes       No
6) Does the security system provide complete
protect ion and monito ring for all accessible openings
into areas containing firearms, rifles, shotguns, and/or
ammun ition, includin g doorways and windows?
                                                             Yes       No

7) Does the security system provide partial motion and
sound detectio n at certain other areas of the premises
containing firearms, rifles, shotguns, and/or
ammun ition, as deemed approp riate by the licensed
installe r?
                                                             Yes       No
8) Is the dealer equippe d with a video recording device
at each point of sale and each entrance and exit to the
premises, which shall be recorded from both the indoor
and outdoo r vantage point?



                                                                   1
   Case 22-3068, Document 90, 08/29/2023, 3562455, Page37 of 62




    NY Dealer Certification/ Compliance Checklist
                                                                  Yes           No




                                                                 □□
 9) Does the dealer maintai n recordings for a minimu m
of two years?
                                                                  Yes           No

10) Does the dealer exclude all persons under 18 years
old from areas where firearms, rifles, shotguns, or
ammun ition are stocked or sold, unless such person is
accompanied by a parent or guardian?
                                                                  Yes   •       No




                                                                 □- □
11) Does the dealer sell or otherwi se dispose of
firearms, rifles, and shotguns only at the location listed
on the dealer's federal firearms license or at gun shows?
                                                                 Yes            No




                                                                 □□
12) Does the dealer provide training to all new
employees within 30 days of employment?
                                                                 Yes            No




                                                                 □□
13) Have all existing employees completed the training
published by the New York State Police before March 3,
2023?
                                                                 Yes            No

14) Are records docume nting the successful comple tion
of the required employee training maintained for at
least five years followin g the completion of such training
by each employee?
                                                                 Yes            No




                                                                 □□
15) Do all employees complete the required training
annually?
                                                                 Yes            No




                                                                 □□
16) Are dealer employees or agents under the age of 21
particip ating in the sale or disposition of firearms, rifles,
or shotguns?

                                                                 Yes        No




                                                                 □□
17) Have all employees or agents received training
before they particip ate in the sale or disposition of
firearm s, rifles, or shotguns?
                                                                 Yes        No




                                                                 □□
18) Does the dealer maintai n a record book or
electron ic-based record of purchase, sale inventory, and
other records at the dealer's place of business?



                                                                            2
    Case 22-3068, Document 90, 08/29/2023, 3562455, Page38 of 62




     NY Dealer Certification/ Compliance Checklist
                                                                Yes        No




                                                              □□
 19) Does the dealer subm it a copy of records to the
 State Police every April and October?
                                                               Yes         No

 20) Do the records include the make, model, caliber or
 gauge, manufacturers, name, and serial numb er of all
 firearms, rifles, and shotguns that are acquired or
 disposed of not later than one business day after their
 acquisition or disposition ?

                                                               Yes         No




                                                              □□
 21) Are mont hly backups of paper records maintained
 in a secure container designed to prevent loss by fire,
 theft, or flood ?

                                                               Yes         No
 22) If the dealer chooses to maintain and electronic-
 based record system, are those records backed up on an
 external server or over the intern et at the close of
 business each day?

                                                               Yes        No
23) Does the dealer record the date, name, age,
occupation, and residence of any person from whom a
firear m is received or to whom a firearm is delivered,
and the caliber, make, model, manufacturer's name and
serial numb er, or if none , any other distinguishing
numb er or ident ificat ion mark on such firearm?

                                                              Yes         No




                                                              □□
24) Are all firearms, rifles and shotguns accounted for
throu gh an inven tory check prepared once each mont h
and maintained in a secure location?

                                                              Yes         No
25) Is sold firearm, rifle, and shotgun disposition
inform ation , including serial numbers, dates of sale, and
ident ity of purchasers, maintained and available at any
time to gove rnme nt law enforcement agencies and to
the manu factu rer of the weapon or its designee?

                                                              Yes         No
26) Are the records documenting the acquisition,
disposition, tracing, and other transactions involving
firearms, rifles and shotguns mainta.ined for at least
twen ty years follow ing each transaction?


                                                                      3
   Case 22-3068, Document 90, 08/29/2023, 3562455, Page39 of 62




     NY Dealer Certification / Compliance Checklist
                                                             Yes       No




                                                             □□
 27) Does the dealer mainta in records of crimina l
 firearm , rifle and shotgun traces initiate d by the ATF?
                                                             Yes       No




                                                             □□
28) Are ATF Form 4473 transaction records retained on
the dealer's business premises in a secure contain er
designed to preven t.loss by fire, theft, or flood?
                                                             Yes       No




                                                             □· □
29) Does the dealer implem ent and mainta in sufficie nt
interna l procedures to ensure compliance with Article
39-BB of the General Business Law?
                                                             Yes       No
30) Does the dealer annua lly certify to the New York
State Police, by January 31 of each year, that the dealer
has compli ed with all of the require ments of Article 39-
BB of the General Business Law?
                                                             Yes       No




                                                             □□
31) Does the dealer provid e the Division of State Police
full access to the dealer's premises for periodic
inspections?




Additional Commen ts




                                    Signature




                                                                   4
FW: NYS Point of Contact Registration
                   Case 22-3068,      Pilot 90, 08/29/2023, 3562455, Page40 of 62
                                  Document

From: Craig Serafini (craig@upstategunsandammo.com)
To:      pcapanna@yahoo.com

Date: Tuesday, August 29, 2023 at 12:00 AM EDT




-------- Original message --------
From: "troopers.sm.nysnics" <NYSNICS@troopers.ny.gov>
Date: 8/10/23 12:46 PM (GMT-05:00)
To:
Subject: NYS Point of Contact Registration Pilot


Hello,



I am reaching out to you today to ask for your assistance with the rollout of the new registration process for dealers as NY becomes a
Point of Contact State in the upcoming weeks.



We ask that you do not pass on any of the information shared with you during this process as it is a test! We are starting with a select
few stores to ensure that the process put in place is working properly and the directions are correct and understandable.



We would ask that the administrators set up the accounts initially, we will have staff that will verify all information for accuracy and
then approve the dealer’s registration. Upon receiving your registration approval email, you can set up your saved payment method
and, invite some or all of your employees to register as well.



The test will take place on Friday August 18th around 10:00am, I will send you out the notification that will eventually be sent out to all
dealers letting you know that registration has opened. At that point we would like the administrators to go online, we will provide the
link, to begin the registration.



Please let me know if you have any questions and are willing to be part of our pilot groups.



Thank you for your time and assistance!

Angie




CONFIDENTIALITY NOTICE: This e-mail, including any attachments, may contain highly sensitive and confidential information. It is
intended only for the individual(s) named. If you received this e-mail in error or from someone who was not authorized to send it to
you, do not disseminate, copy or otherwise use this e-mail or its attachments. Please notify the sender immediately by reply e-mail
and delete the e-mail from your system.
FW: NYS Point of Contact Pilot Registration
                   Case 22-3068,  Document 90, 08/29/2023, 3562455, Page41 of 62

From: Craig Serafini (craig@upstategunsandammo.com)

To:    pcapanna@yahoo.com

Date: Sunday, August 27, 2023 at 11:31 PM EDT




-------- Original message --------
From: "troopers.sm.nysnics" <NYSNICS@troopers.ny.gov>
Date: 8/17/23 9:36 PM (GMT-05:00)
To:
Subject: NYS Point of Contact Pilot Registration


Hello,


New York State will become a Point of Contact State within the next couple of weeks. We are doing a
phased rollout of the program beginning with Dealer Registration. You are receiving this email because we
would like you to be one of the first firearms dealers to register through this new process.


The attached notification will be sent out to all dealers in the upcoming weeks. Please read the attached
notification and follow the directions to complete your registration.


We would like your feedback on the registration process and documentation provided on the site. Your input
is very important as we work to improve our processes.


New York State Police
NYS NICS Unit
1-877-NYS-NICS
NYSNICS@troopers.ny.gov
-   - ----




CONFIDENTIALITY NOTICE: This e-mail, including any attachments, may contain highly sensitive and confidential information. It is
intended only for the individual(s) named. If you received this e-mail in error or from someone who was not authorized to send it to
you, do not disseminate, copy or otherwise use this e-mail or its attachments. Please notify the sender immediately by reply e-mail
and delete the e-mail from your system.

      NYS Point of Contact Notification.pdf
      120kB
FW: New York’s NewCase
                   Background
                       22-3068,Check System
                                Document  90, 08/29/2023, 3562455, Page42 of 62

From: Craig Serafini (craig@upstategunsandammo.com)

To:   pcapanna@yahoo.com

Date: Monday, August 28, 2023 at 02:45 PM EDT




Sent from my Galaxy


-------- Original message --------
From: NSSF <nssfnews@nssf.org>
Date: 8/28/23 2:24 PM (GMT-05:00)
To: craig@upstategunsandammo.com
Subject: New York’s New Background Check System



                 NSSF Working to Get Answers                                    Email not displaying correctly?
                                                                                View it in your browser.




                                                     NSSF'
                                                     The Firearm Industry
                                                     Trade Association

                      MEMBERSHIP               l   RETAILERS   l   RANGES        l    MANUFACTURERS



                               New York’s New Background Check System
                                                   NSSF Working to Get Answers


                 On Friday, NSSF® had a call with the Deputy Secretary for Public Safety concerning New
                 York state becoming a point of contact state and completely changing the process retailers
                 have become accustomed to. This call follows a webinar put on by the New York State
                 Police earlier in the month describing the transition to a point of contact state. While there
                 are many questions still outstanding, NSSF is doing their best to act as an intermediary
                 during these challenging times for retailers. Unfortunately, the process has been done
                 without input from the firearm industry and will most likely cause severe impacts to your
                 daily business.


                 Our goal is to try to continue to educate retailers about the impending transition because
                 at this point, we have learned that the communication from the state has not been the
                 greatest. It has also come to our attention that FBI NICS has been sending emails to
                 retailers to inform them of the changes and the steps that retailers need to take to register
                 with the NYSP in order to run firearm and ammunition background checks.


                 The NYSP have explained to NSSF that there will be a more extensive document guiding
                 you through the process that will be ready by the end of this week – we will send it along
to members when we receive it.
       Case 22-3068, Document 90, 08/29/2023, 3562455, Page43 of 62
Below is the text of New York’s Letter to Dealers concerning the registration process,
which you should have hopefully already received. We would like to ask all retailers to
take the time to follow the process and register your store and employees so that you will
not experience any self-imposed delays on September 13th.


NSSF continues to encourage New York state to make sure they have contingency plans
in place for the inevitable delays and impacts to your business that will most likely occur
with the new changes. While the state police is your ultimate authority, please let NSSF
know of any issues that go unanswered so that we may try to assist you. Please contact
us with these issues.



      To: New York State Firearm Dealers and Ammunition Sellers

      Pursuant to Executive Law § 228, New York has been designated a Point of
      Contact state for the purpose of processing National Instant Background
      Check (“NICS”) transactions. This means that starting on September 13,
      2023, background check requests for firearm, rifle, shotgun, and ammunition
      purchases will be submitted to the New York State Police, and dealers will no
      longer submit requests directly to FBI NICS.


      As a dealer, you and your staff will be required to register on the
      NYSNICS.ny.gov web application in advance of New York becoming a Point
      of Contact State. Instructions on the registration process will be posted on
      the https://NYSNICS.ny.gov site.


      Effective September 13, 2023, prior to transferring a firearm, rifle, shotgun, or
      ammunition to a purchaser, you must go to https://NYSNICS.ny.gov to
      complete the background check process.


      An Interactive Voice Response (IVR) telephone solution will be implemented
      as well so you may call in a background check request to 1-877-NYS-NICS
      should the online system be unavailable. To use this functionality, you must
      have already set up your business’ online profile and have a saved payment
      method on file in the NYSNICS application which you can register and login
      to at https://NYSNICS.ny.gov.


      Please visit https://NYSNICS.ny.gov for more details about Point of Contact.



NSSF will continue to monitor the situation and the impending roll out and will continue to
keep our industry members informed.
          Case 22-3068, Document 90, 08/29/2023, 3562455, Page44 of 62
           -~~•"·, FIREARMS INDUSTRY
            \\\\\\\\~              JOBS
                      Search for jobs. Recruit employees.




               DON'JLIE
                  FOR THE OTHER GUY"
                                         Fix!: Itef1t
             Buy a gun for someone                     View these
                                     Ensure NICS
             who can’t, buy yourself                   important safety
                                     works as intended
             15 years in jail.                         messages



                LOGIN TO THE MEMBER PORTAL        l     BECOME A MEMBER




Copyright © 2023. All rights reserved.



National Shooting Sports Foundation
6 Corporate Drive
Shelton, CT 06484


update subscription preferences
                Case 22-3068, Document 90, 08/29/2023, 3562455, Page45 of 62




                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF NEW YORK

_______________________________________________

Nadine Gazzola, individually, and as co-owner,
President, and as BATFE Federal Firearms Licensee
Responsible Person for Zero Tolerance
Manufacturing, Inc.; et al.

           Plaintiffs

     v.

KATHLEEN HOCHUL, in her Official Capacity as
Governor of the State of New York; et al.

      Defendants
______________________________________________


                          DECLARATION OF RICHARD SEHLMEYER
                            – THE GUN SHOP AT MacGREGOR’S, LLC

1.        I am Richard Sehlmeyer and I make this Declaration under penalties of perjury. These

          statements are true to the best of my knowledge, and are based upon my personal

          knowledge and experience unless otherwise specified.

2.        I submit this affidavit in support of the plaintiffs’ emergency motion for a judicial stay of

          the defendants’ demonstrated intention to take over all firearms purchase background

          checks and against any state compliance inspections using the new (2022) laws.

3.        I hold and am the responsible person for a federal license Tye-01 to be a dealer in

          “firearms,” as that term is defined at federal law. Because I sell handguns, I have also a

          NYS dealers license.




                                 Richard Sehlmeyer – Declaration – Page 1
                                      The Gun Shop at MacGregor’s
              Case 22-3068, Document 90, 08/29/2023, 3562455, Page46 of 62




4.    My business is “The Gun Shop at MacGregor’s, LLC” in Lake Luzerne, New York. We

      sell handguns, rifles and shotguns, ammunition, and accessories. I also offer full

      gunsmithing services.

5.    I first obtained a federal license as a Type-01 “Dealer in Firearms” twenty years ago in

      2004.

6.    I first obtained my FFL-01 when I was still working for the NYS Police. I retired from the

      NYSP in 2007. I have also served in law enforcement at the local level. Since 2007,

      I have worked full-time as an FFL dealer in firearms in the lawful stream of commerce in

      New York.

7.    I have also a concealed carry license issued by Warren County.

8.    NYSP 4-Page “NY Dealer Certification/Compliance Checklist” authentication. My

      role in supporting this emergency motion is to authenticate the 4-page, physical document

      titled “NY Dealer Certification/Compliance Checklist.” Although it does not bear any

      identifying information, I personally received this document from NYSP-JTTF Senior

      Investigator Warren Law on July 25, 2023.

9.    Attached to this declaration is a true copy of this 4-page “checklist.”

10.   Mine was the first dealer audit using the checklist. Upon information and belief from

      Mr. Law, he oversees the NYSP Domestic Terrorism Task Force for G Troop and

      C Troop (covering an area from Warren/Essex Counties to the Pennsylvania border).

      Upon information and belief, Mr. Law is now tasked with inspecting the gun dealers under

      the new (2022) laws.




                              Richard Sehlmeyer – Declaration – Page 2
                                   The Gun Shop at MacGregor’s
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page47 of 62




11.   Mr. Law contacted me and asked if he could come by and go through inspection at my

      shop. Mr. Law told me the NYSP-JTTS was directed to start inspections by August 1,

      2023. We’ve known each other for years and Mr. Law is a customer of mine, and so

      I agreed. He said I would be the first dealer to be inspected using the new checklist.

12.   When Mr. Law arrived at my shop, he handed me the blank copy of the questionnaire.

13.   Mr. Law stated he had no idea on how to interpret the new 31 question “questionnaire” and

      that he was seeking my feedback and knowledge of what was passed.

14.   At the start of the compliance audit, I gave Mr. Law a statement drawn up for me by an

      attorney who I know, which included that I am not an attorney and I have not received any

      guidance on how to implement the changes brought on by the new (2022) laws. I asked

      Mr. Law to read it.

15.   The audit went on for just over three hours on July 25, 2023.

16.   Mr. Law used the checklist, starting with the first question and went through the questions

      one-by-one. My business premises is a single room, approximately 400 square foot in size.

      Unless something is behind the counter, it’s in plain view. I responded to the questions

      and Mr. Law offered various remarks.

17.   Mr. Law told me that the inspections will include box stores.

18.   Mr. Law said he was given an ATF list of all FFLs to audit with no differentiation between

      types of FFLs.

       a. The NYS Police do not have state law authority to audit any FFL which does not have

           a state dealer license. The “dealer” license in New York, under NY Penal Law




                            Richard Sehlmeyer – Declaration – Page 3
                                 The Gun Shop at MacGregor’s
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page48 of 62




           §400.00(1-a) is limited to an FFL that is either a gunsmith and/or that sells handguns

           and/or any of four other specific types of NY-illegal firearms, including, e.g., an

           “assault weapon” (which is defined at state law as part of the 2013 “SAFE Act”).

       b. For the information of the court, the ATF publishes to its website and updates

           monthly a list of all FFLs in every U.S. state and territory.

       c. The public ATF list includes all FFL types – not just FFL Type-01 dealers in firearms

           and FFL Type-02 pawnbrokers. The ATF list includes types, e.g., FFL Type-07

           (manufacturer of firearms) and FFL Type 11 (importer of destructive devices).

       d. Please refer to the ATF website page https://www.atf.gov/resource-center/fact-

           sheet/fact-sheet-federal-firearms-and-explosives-licenses-types for an overview of the

           licensing and types.

       e. Please refer to the ATF website page https://www.atf.gov/firearms/listing-federal-

           firearms-licensees for up-to-date lists of FFLs by state.

       f. The new (2022) laws do not grant authority to the NYS Police to conduct a

           compliance audit to any federally-licensed type, other than the Type-01 (dealer in

           firearms, including gunsmiths) and the Type-02 (pawnbroker), and then, only if that

           Type-01 or Type-02 also has a NYS dealer license.

19.   I also explained to Mr. Law that he had no state authority to audit federally-licensed

      dealers who are not also state-licensed dealers.

20.   I explained to Mr. Law that under the new (2022) laws, I have an option to turn in my NYS

      dealer license and simply operate on my federal license, as long as I do not sell handguns

      or the other three firearms listed in NY Penal Law §265.00. I also expressed that I have


                            Richard Sehlmeyer – Declaration – Page 4
                                 The Gun Shop at MacGregor’s
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page49 of 62




      another legal option to stop selling handguns and surrender my state license and not do any

      gunsmithing, then none of NY General Business Law §875 would apply as to the

      definition of the term “dealer” as used in that section.

21.   If the NYS Police impose state “dealer” audits on all FFLs, regardless of federal license

      type (meaning Types 03 through 11), there is a probability of wrongful widespread arrests

      on E felony charges. There is no state authority to audit anyone but a NY-licensed dealer

      in “firearms” by the state’s own definition, meaning, handguns.

22.   I told Mr. Law at the end of his audit “It’s going to put me out of business.” I asked him

      what would happen next. Mr. Law told me he was “using it for feedback and critique.”

23.   In plain English: it’s going to be a disaster if the NYSP takes this live.

24.   Prior NYSP interaction. A few months ago, I called the NYS Police Permit Section in

      Albany and got a supervisor. I pointed out that a muzzleloader is not a “rifle” under

      federal law and I was not permitted to run a NICS check through the FBI NICS section for

      it. I also told him I called the ATF Albany office to verify the fact that I cannot run a

      NICS check through the NICS for a non-gun. The officer told me: “We understand – just

      ignore that part of the law.” The problem with that approach, of course, is that the law

      remains on the books and available to be charged against an individual.

25.   No other NYSP communication. I did not receive the Hochul-Nigrelli notification letter.

      I did not receive the “Angie” e-mail (August 10, 2023). I did receive two (duplicate)

      e-mails from the FBI-NICS Unit (August 23, 2023 and August 25, 2023) with the Hochul-

      Nigrelli notification letter attached to it in .PDF form.




                             Richard Sehlmeyer – Declaration – Page 5
                                  The Gun Shop at MacGregor’s
           Case 22-3068, Document 90, 08/29/2023, 3562455, Page50 of 62




26.   My state dealers license and state gunsmith license were processed, issued, and renewed by

      the county judge through the Warren County Clerk's Office. From beginning to end, I had

      no direct contact with or from the state or the NYS Police.

27.   Even though the NYSP issues a "State Firearms Dealers ID Number'' when one obtains the

      state license, it appears the NYSP do not have a database of those FFLs to whom they have

      issued such a number. Mr. Law told me they got the list of dealers from the A 1F. This

      would appear consistent with the opening line of the FBI e-mail of August 23 & 25, 2023,

      which reads '"The NICS Section has been asked to send out this notice from NY to the

      FFLs we have on file." The NYS Police are having to rely, themselves, upon the FBI to

      get out their first letter.

28.   My physical business premises is in Lake Luzerne, Warren County, New York.

29.   I am available to provide testimony or further written submission, if the court requests it.

Whereas, I respectfully request this emergency motion be granted in favor of the plaintiffs.

Dated: August 27, 2023




                               Richard Sehlmeyer - Declaration - Page 6
                                    The Gun Shop at MacGregor's
    Case 22-3068, Document 90, 08/29/2023, 3562455, Page51 of 62
    NY Dealer Certification/ Compliance Checklist
Business Name/FFL Number                  Address




Date Inspected                            Inspected By




                                                            Yes    No




                                                            □□
1) Has the dealer implemented a security plan? (GBL
875-b{l})
                                                            Yes    No


2) Are all firearms, rifles and shotguns secured, other
than during business hours, in a locked fireproof safe or
vault on the dealer's business premises or in a secured
and locked area on the dealer's business premises?
                                                            Yes    No




                                                            □□
3) Is ammunition stored separately from firearms, rifles
and shotguns and out of reach of customers?
                                                            Yes    No




                                                            □□
4) Is the dealer's business premises secured by a
security alarm system that is installed and maintained
by a properly licensed security alarm operator?
                                                            Yes    No




                                                            □□
5) Is the security alarm system capable of being
monitored by a central station?
                                                            Yes    No


6) Does the security system provide complete
protection and monitoring for all accessible openings
into areas containing firearms, rifles, shotguns, and/or
ammunition, including doorways and windows?
                                                            Yes    No


7) Does the security system provide partial motion and
sound detection at certain other areas of the premises
containing firearms, rifles, shotguns, and/or
ammunition, as deemed appropriate by the licensed
installer?
                                                            Yes    No


8) Is the dealer equipped with a video recording device
at each point of sale and each entrance and exit to the
premises, which shall be recorded from both the indoor
and outdoor vantage point?
    Case 22-3068, Document 90, 08/29/2023, 3562455, Page52 of 62

    NY Dealer Certification/ Compliance Checklist
                                                                 Yes    No




                                                                □□
 9) Does the dealer maintain recordings for a minimum
 of two years?
                                                                 Yes   ·No

10) Does the dealer exclude all persons under 18 years
old from areas where firearms, rifles, shotguns, or
ammunitio n are stocked or sold, unless such person is
accompanied by a parent or guardian?
                                                                 Yes   No




                                                                □□
11) Does the dealer sell or otherwise dispose of
firearms, rifles, and shotguns only at the location listed
on the dealer's federal firearms license or at gun shows?
                                                                Yes    No




                                                                □□
12) Does the dealer provide training to all new
employees within 30 days of employme nt?
                                                                Yes    No




                                                                □□
13) Have all existing employees completed the training
published by the New York State Police before March 3,
2023?
                                                                Yes    No

14) Are records document ing the successful completio n
of the required employee training maintained for at
least five years following the completio n of such training
by each employee?
                                                                Yes    No




                                                                □□
15) Do all employees complete the required training
annually?
                                                                Yes    No




                                                                □□
16) Are dealer employees or agents under the age of 21
participating in the sale or disposition of firearms, rifles,
or shotguns?
                                                                Yes    No




                                                                □□
17) Have all employees or agents received training
before they participate in the sale or disposition of
firearms, rifles, or shotguns?
                                                                Yes    No




                                                                □□
18) Does the dealer maintain a record book or
electronic-based record of purchase, sale inventory, and
other records at the dealer's place of business?
       Case 22-3068, Document 90, 08/29/2023, 3562455, Page53 of 62
   NY Dealer Certification/ Compliance Checklist
                                                             Yes    No




                                                             □□
19) Does the dealer submit a copy of records to the
State Police every April and October?
                                                             Yes    No


20) Do the records include the make, model, caliber or
gauge, manufacturers, name, and serial number of all
firearms, rifles, and shotguns that are acquired or
disposed of not later than one business day after their
acquisition or disposition ?
                                                             Yes    No




                                                             □□
21) Are monthly backups of paper records maintained
in a secure container designed to prevent loss by fire,
theft, or flood?
                                                             Yes    No


22) If the dealer chooses to maintain and electronic-
based record system, are those records backed up on an
external server or over the internet at the close of
business each day?
                                                             Yes    No


23) Does the dealer record the date, name, age,
occupation, and residence of any person from whom a
firearm is received or to whom a firearm is delivered,
and the caliber, make, model, manufactu rer's name and
serial number, or if none, any other distinguishing
number or identificat ion mark on such firearm?
                                                              Yes   No




                                                             □□
24) Are all firearms, rifles and shotguns accounted for
through an inventory check prepared once each month
and maintained in a secure location?
                                                              Yes    No


25) Is sold firearm, rifle, and shotgun disposition
informatio n, including serial numbers, dates of sale, and
identity of purchasers, maintaine d and available at any
time to governme nt law enforceme nt agencies and to
the manufactu rer of the weapon or its designee?
                                                              Yes    No


 26) Are the records document ing the acquisition,
 disposition, tracing, and other transactions involving
 firearms, rifles and shotguns maintained for at least
 twenty years following each transaction?
  Case 22-3068, Document 90, 08/29/2023, 3562455, Page54 of 62
   NY Dealer Certification/ Compliance Checklist
                                                            Yes   No




                                                            □□
27) Does the dealer maintain records of criminal
firearm, rifle and shotgun traces initiated by the ATF?
                                                            Yes   No




                                                            □□
28) Are ATF Form 4473 transaction records retained on
the dealer's business premises in a secure container
designed to prevent loss by fire, theft, or flood?
                                                            Yes   No




                                                            □□
29) Does the dealer implement and maintain sufficient
internal procedures to ensure compliance with Article
39-BB of the General Business Law?
                                                            Yes   No

30) Does the dealer annually certify to the New York
State Police, by January 31 of each year, that the dealer
has complied with all of the requirements of Article 39-
BB of the General Business Law?
                                                            Yes   No




                                                            □□
31) Does the dealer provide the Division of State Police
full access to the dealer's premises for periodic
inspections?




Additional Comments




                                   Signature




                                 '-------I
                Case 22-3068, Document 90, 08/29/2023, 3562455, Page55 of 62




                          IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF NEW YORK

_______________________________________________

Nadine Gazzola, individually, and as co-owner,
President, and as BATFE Federal Firearms Licensee
Responsible Person for Zero Tolerance
Manufacturing, Inc.; et al.

           Plaintiffs

     v.

KATHLEEN HOCHUL, in her Official Capacity as
Governor of the State of New York; et al.

      Defendants
______________________________________________


                        DECLARATION OF PLAINTIFF NADINE GAZZOLA
                         – ZERO TOLERANCE MANUFACTURING, INC.

1.        I am Nadine Gazzola and I make this Declaration under penalties of perjury. These

          statements are true to the best of my knowledge, and are based upon my personal

          knowledge and experience unless otherwise specified.

2.        As lead plaintiff in the above-captioned case, I have read and am familiar with the contents

          of this emergency motion, specifically, and the record of this case, generally. I attended

          court appearances with argument by counsel both at the Northern District Court and the

          Second Circuit Court of Appeals.

3.        I submit this affidavit in support of the emergency motion. I incorporate as if set forth

          herein the explanations of the definitions of the word “firearms” at federal and at state law,

          and of the reading of the new (2022) state law as limiting the defendants, at best, to that of



                                  Nadine Gazzola – Declaration – Page 1
                                     Zero Tolerance Manufacturing
           Case 22-3068, Document 90, 08/29/2023, 3562455, Page56 of 62




     a “partial POC state” and at best to inspections of NY-licensed dealers in handguns.

     I concur with the description of the federal and state laws relating to what types of firearms

     may be sold under which federal and state license. It is clear to me that any attempt by the

     defendants to take over all firearms background checks – as the term “firearms” is

     understood at federal law – would exceed their state-level authority. It would also exceed

     state-level authority for the defendants to audit all federally-licensed dealers or even all

     FFL Type-01s.

4.   I continue to object to everything set forth in our original motion for TRO/PI, and continue

     to ask the Second Circuit to rule in favor of the plaintiffs on our appeal of the request for

     preliminary injunction. I continue to object to the defendants’ intention to push their way

     in between our federally-licensed business and the FBI-NICS Unit, as set forth in my

     Declaration in support of the TRO/PI. [N.D.N.Y. Doc. 13-2]

5.   This emergency motion is necessitated by the defendants’ bad acts. I ask this court to rule

     on this emergency motion ahead of Wednesday, September 13, 2023, in order to (a.) stave

     off any impending arrest of one or more plaintiff(s) and any other FFLs similarly situated;

     (b.) stop the defendants from initiating a background check system on all firearms (federal

     definition) in excess of state authority; (c.) stop the defendants from conducting

     compliance audits on all federal firearms licenses, regardless of type or state license, in

     excess of state authority; and, (d.) stop the defendants from launching an ammunition

     background check, which system has not been certified as operational.

6.   I continue, on behalf of the plaintiffs, to request the court rule in our favor on the already-

     pending appeal of our comprehensive motion for preliminary injunction. In submitting this

     emergency motion, I do not waive any argument or request previously submitted.


                             Nadine Gazzola – Declaration – Page 2
                                Zero Tolerance Manufacturing
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page57 of 62




7.    FBI e-mail authentication. My role in supporting this emergency motion is to

      authenticate the two e-mails I received from the Federal Bureau of Investigations NICS

      Unit (“FBI-NICS”) on Wednesday, August 23, 2023 and again on Friday, August 25,

      2023. Attached to this affidavit are complete copies of these two e-mails with attached

      .PDF of a notification letter 1 from NYS Gov. Kathleen Hochul and NYSP Acting

      Superintendent Stephen Nigrelli.

8.    I received the first e-mail (August 23, 2023) to my business e-mail address of

      ZeroToleranceCorp@gmail.com. This is the e-mail address I submitted on the ATF/FBI

      license application and renewal forms, which I submit every three years. My federal

      license most recently renewed this year.

9.    I received the second FBI-NICS e-mail (August 25, 2023) to my personal e-mail address of

      NadineGazzola1@gmail.com 2 . My person e-mail address is not part of my federal or state

      license process.

10.   Zero State Police Communication. I have received no communication from the NYSP,

      either by USPS first class mail, e-mail, or otherwise, either since on or about July 25, 2023

      or at any prior time. I did not receive the Hochul-Nigrelli notification letter directly from

      the NYSP. I did not receive the “Angie” e-mail. No officer has visited our shop, nor has

      an officer provided me with a copy of the 4-page dealer compliance checklist.




1 A comparison of the Hochul-Nigrelli letter attached to the FBI-NICS e-mail shows the date line

    is removed, altogether, as compared to the letter received by Mr. Jarred Ford (attached to this
    emergency motion).
2 Plaintiff’s personal e-mail address was redacted by her Counsel.




                              Nadine Gazzola – Declaration – Page 3
                                 Zero Tolerance Manufacturing
            Case 22-3068, Document 90, 08/29/2023, 3562455, Page58 of 62




11.   The Zero Tolerance Manufacturing state license original application and renewal

      applications went through our local Columbia County Clerk’s Office. The process of

      going through the county clerk’s office for the state dealer’s license and renewal is, upon

      information and belief, the same for all FFLs in New York. The NYS Police role in the

      state license and renewal is non-existent. The license and the renewal is reviewed and

      signed by a county court judge. Upon information and belief, the county sheriff’s office

      initiates the background checks as part of that process. From beginning to end, as a “state-

      licensed dealer,” I have no direct contact with or from the state or the NYS Police.

12.   Our business premises is in Ghent, Columbia County, New York. It has been at this

      location since we first obtained our original federal and state licenses in 2015. This is the

      business premises address I provided on each application and renewal form for our federal

      and state licenses.

13.   I am available to provide testimony or further written submission, if the court requests it.

Whereas, I respectfully request this emergency motion be granted in favor of the plaintiffs.
                                                                                  •
Dated: August 27, 2023

                                              ________________________________________
                                              Nadine Gazzola




                              Nadine Gazzola – Declaration – Page 4
                                 Zero Tolerance Manufacturing
Fwd: FFL registrationCase
                      with 22-3068,
                           NY StateDocument
                                    Police  90, 08/29/2023, 3562455, Page59 of 62

From: Zero Tolerance (zerotolerancecorp@gmail.com)

To:    pcapanna@yahoo.com

Date: Sunday, August 27, 2023 at 04:44 PM EDT




---------- Forwarded message ---------
From: -  nicsliason@fbi.gov
                 --          <nicsliason@fbi.gov>
                                 -
Date: Wed, Aug 23, 2023 at 11:45 AM
Subject: FFL registration with NY State Police
To:



The NICS Section has been asked to send out this notice from NY to the FFLs we have on file.




All New York federal firearms licenses (FFL),



On September 13, 2023, the FBI NICS E-Check service and FBI NICS call center will no longer be available for NY FFLs to initiate
new firearm background checks. All FFLs are required to register with the NY State Police to begin processing firearm background
checks.



Please see the attached information for instructions and contact information should you have any questions.




Eric Moore

NICS BRT




--
Nadine and Seth Gazzola

Zero Tolerance Manufacturing Inc.

518-938-1335

       NY Public Awareness.pdf
       119.9kB
           Case 22-3068, Document 90, 08/29/2023, 3562455, Page60 of 62



q           w
            RK
            ~TE
                    State
                    Police
                                                                                          STEVEN A. NIGRELLI
KATHY HOCHUL                                                                              Acting Superintendent
Governor




To:    New York State Firearm Dealers and Ammunition Sellers

Pursuant to Executive Law § 228, New York has been designated a Point of Contact state
for the purpose of processing National Instant Background Check (“NICS”) transactions.
This means that starting on September 13, 2023, background check requests for firearm,
rifle, shotgun, and ammunition purchases will be submitted to the New York State Police,
and dealers will no longer submit requests directly to FBI NICS.

As a dealer, you and your staff will be required to register on the NYSNICS.ny.gov web
application in advance of New York becoming a Point of Contact State. Instructions on
the registration process will be posted on the https://NYSNICS.ny.gov site.

Effective September 13, 2023, prior to transferring a firearm, rifle, shotgun, or ammunition
to a purchaser, you must go to https://NYSNICS.ny.gov to complete the background
check process.

An Interactive Voice Response (IVR) telephone solution will be implemented as well so
you may call in a background check request to 1-877-NYS-NICS should the online system
be unavailable. To use this functionality, you must have already set up your business’s
online profile and have a saved payment method on file in the NYSNICS application which
you can register and login to at https://NYSNICS.ny.gov.

Please visit https://NYSNICS.ny.gov for more details about Point of Contact.




                                                            New York State Police
                                                            NYS NICS Unit
                                                            1-877-NYS-NICS
                                                            NYSNICS@troopers.ny.gov




                  Building 22, 1220 Washington Avenue, Albany, NY 12226 │ www.troopers.ny.gov
Fwd: FFL regist rationCase
                       with 22-3068,
                            NY StateDocument
                                     Police  90, 08/29/2023, 3562455, Page61 of 62

From: Nadine Gazzola                   @gmail.com)

To:    pcapanna@yahoo.com

Date: Sunday, August 27, 2023 at 04:45 PM EDT




- - - Forwarded message ---------
From: nicsliason@fbi.gov <nicsliason@fbi.gov>
Date Fri, Aug 25, 2023 at 7 15 AM
Subject: FFL registration w ith NY State Police
To:



The NICS Section ha been a ked to end out thi notice from NY to the FFL we have on file




All New York federal firearm licen e (FFL),



On September 13, 2023, the FBI NICS E Check ervice and FBI NICS call center will no longer be available for NY FFL to initiate
new firearm background checks. All FFLs are required to register w ith the NY State Police to begin processing firearm background
checks.



Please see the attached information for instructions and contact information should you have any questions.



Eric Moore

NICS BRT




Nadine Gazzola
Owner Zero Tolerance Gun Shop
Assistant Manager - Pulcher Transportation/ AIRCO Inc

!."I NY Public Awareness pdf
~     119.9kB
           Case 22-3068, Document 90, 08/29/2023, 3562455, Page62 of 62



q           w
            RK
            ~TE
                    State
                    Police
                                                                                          STEVEN A. NIGRELLI
KATHY HOCHUL                                                                              Acting Superintendent
Governor




To:    New York State Firearm Dealers and Ammunition Sellers

Pursuant to Executive Law § 228, New York has been designated a Point of Contact state
for the purpose of processing National Instant Background Check (“NICS”) transactions.
This means that starting on September 13, 2023, background check requests for firearm,
rifle, shotgun, and ammunition purchases will be submitted to the New York State Police,
and dealers will no longer submit requests directly to FBI NICS.

As a dealer, you and your staff will be required to register on the NYSNICS.ny.gov web
application in advance of New York becoming a Point of Contact State. Instructions on
the registration process will be posted on the https://NYSNICS.ny.gov site.

Effective September 13, 2023, prior to transferring a firearm, rifle, shotgun, or ammunition
to a purchaser, you must go to https://NYSNICS.ny.gov to complete the background
check process.

An Interactive Voice Response (IVR) telephone solution will be implemented as well so
you may call in a background check request to 1-877-NYS-NICS should the online system
be unavailable. To use this functionality, you must have already set up your business’s
online profile and have a saved payment method on file in the NYSNICS application which
you can register and login to at https://NYSNICS.ny.gov.

Please visit https://NYSNICS.ny.gov for more details about Point of Contact.




                                                            New York State Police
                                                            NYS NICS Unit
                                                            1-877-NYS-NICS
                                                            NYSNICS@troopers.ny.gov




                  Building 22, 1220 Washington Avenue, Albany, NY 12226 │ www.troopers.ny.gov
